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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 BLAIR DOUGLASS,

                       Plaintiff,                        Lead Case No. 2:21-cv-01165-AJS

        v.

 HEDLEY AND BENNETT, INC.,

                       Defendant.


 BLAIR DOUGLASS,

                       Plaintiff,                        Member Case No. 2:21-cv-01221-AJS

        v.

 STEEL SUPPLEMENTS, INC.,

                       Defendant.


                                    NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Blair Douglass and Defendant Steel Supplements,

Inc. have reached an agreement in principle that will confidentially resolve the claims alleged in

the member case, Douglass v. Steel Supplements, Inc., Member Case No. 2:21-cv-01221-AJS.

                                                  Respectfully Submitted,

 Dated: December 2, 2021                          /s/ Kevin Tucker
                                                  Kevin W. Tucker (He/Him) (PA 312144)
                                                  Kevin J. Abramowicz (He/Him) (PA 320659
                                                  Chandler Steiger (She/Her) (PA 328891)
                                                  Stephanie Moore (She/Her) (PA 329447)
                                                  EAST END TRIAL GROUP LLC
                                                  6901 Lynn Way, Suite 215
                                                  Pittsburgh, PA 15208

                                                  Tel. (412) 877-5220
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                                    Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, December 2, 2021, a true and correct copy of the foregoing

was filed on the Court’s CM/ECF system and will be served upon all counsel of record.

                                                 Respectfully Submitted,

 Dated: December 2, 2021                            /s/ Kevin Tucker
                                                    Kevin W. Tucker (He/Him)




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